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                     UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF WISCONSIN


PAMELA J. JANSSEN,
2821 Green Bass Road
Rhinelander, WI 54501

                   Plaintiff,
                                              Case No.    20-cv-215
      vs.

HARTFORD LIFE AND ACCIDENT
INSURANCE COMPANY,
Registered Agent:
CT Corporation System
301 S. Bedford Street, Ste. 1
Madison, WI 53703

                   Defendant.


                                    COMPLAINT



      The Plaintiff, Pamela J. Janssen, by Hawks Quindel, S.C., for her complaint

against the above-named Defendant, hereby states as follows:

                                      PARTIES

      1. Plaintiff is an adult resident of the State of Wisconsin and currently resides

in Rhinelander, Wisconsin.

      2. Defendant, Hartford Life and Accident Insurance Company (“Insurance

Company”), on information and belief, is a corporation organized under the laws of

the state of Connecticut, licensed to do business in Wisconsin.
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                              JURISDICTION & VENUE

      3. As described more fully below, this is an action by a participant in an

employee welfare benefit plan governed by ERISA to recover benefits due under the

terms of the Plan pursuant to ERISA § 502(a)(1)(B).

      4. Jurisdiction over this action is conferred upon this court because the claims

herein arise under ERISA.

      5. Venue is proper in the Western District of Wisconsin pursuant to ERISA §

502(e)(2) and 28 U.S.C. § 1391(b), because a substantial part of the events and

omissions giving rise to these claims occurred in this district and, because, in

substantial part, the breaches asserted herein took place in this district.

      6. Plaintiff’s administrative remedies have been exhausted as a condition

precedent to filing this action.

                                         FACTS

      7. During the course of Plaintiff’s employment, Plaintiff became eligible for

certain employee benefits, including the Ability Plus Benefit provided by the Plan.

      8. Plaintiff’s Ability Plus Benefit is worth $334.00 per month.

      9. Defendant determined that Plaintiff was disabled and eligible to receive

long-term disability insurance benefits based on the same medical issues that

constitute Plaintiff’s claim for Ability Plus Benefit.

      10.    Plaintiff has been awarded SSDI benefits.




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       11.     The Social Security Administration determined that Plaintiff was

disabled based on the same medical issues that constitute Plaintiff’s claim for Ability

Plus Benefits.

       12.     Defendant denied Plaintiff’s Ability Plus Benefits claim in its entirety.

       13.     Defendant determined whether Plaintiff was eligible for Ability Plus

Benefits.

       14.     Defendant was responsible for paying Plaintiff’s Ability Plus Benefits.

       15.     Plaintiff timely appealed Defendant’s denial of her benefits claim.

       16.     Plaintiff submitted complete medical documentation in support of

Plaintiff’s eligibility to receive Ability Plus Benefits as part of the appeal.

       17.     Plaintiff submitted all information requested by the Defendant.

       18.     Defendant failed to consider the issues raised in Plaintiff’s appeal.

       19.     Defendant ignored clear medical evidence of Plaintiff’s medical

conditions, cognitive impairments, and inability to perform Activities of Daily Living.

       20.     Defendant did not perform a “full and fair review” of Plaintiff’s claim.

       21.     Defendant failed to notify Plaintiff of the additional material necessary

in order for Plaintiff to perfect Plaintiff’s claim and an explanation of why that

material was necessary.

       22.     Defendant failed to adequately explain why it rejected specific evidence

in Plaintiff’s file.

       23.     Defendant failed to engage in a meaningful dialogue with Plaintiff.




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       24.    Defendant failed to adequately explain its reasons for denying Plaintiff

benefits.

       25.    Defendant conducted a selective review of Plaintiff’s medical records.

       26.    At all times material to this complaint, Plaintiff has remained Disabled

and Cognitively Impaired, as defined by the Plan, and has remained unable to

perform two or more Activities of Daily Living.

       27.    At all times material to this case, the Plan has remained in full force

and effect.

       28.    Defendant’s denial of Plaintiff’s claim for Ability Plus Benefits caused

Plaintiff to suffer the loss of benefits and to incur expenses.

                            FIRST CAUSE OF ACTION:
                      DENIAL OF BENEFITS IN VIOLATION OF
                          SECTION 502(a)(1)(B) OF ERISA

       29.    The preceding paragraphs are reincorporated by reference as though set

forth here in full.

       30.    Plaintiff has been and remains Disabled and Cognitively Impaired, as

those terms are defined by the Plan, and unable to perform two or more Activities of

Daily Living.

       31.    Pursuant to Firestone Tire & Rubber Co. v. Bruch, 489 U.S. 101, 115

(1989), the proper standard of review is arbitrary and capricious as the Plan has

granted the administrator discretionary authority to determine eligibility for benefits

or to construe the Plan terms.

       32.    Defendant arbitrarily and capriciously denied Plaintiff benefits.



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      33.    Defendant interpreted and applied the terms and conditions of the Plan

in a manner that is inconsistent with the plain language contained therein.

      34.    Upon information and belief, Defendant inconsistently interpreted the

terms and conditions of the Plan from one case to the next.

      35.    As both the payer of claims and the adjudicator of claim eligibility,

Defendant has an inherent conflict of interest.

      36.    Defendant’s denial of Plaintiff’s Ability Plus Benefit was “downright

unreasonable.”

      37.    For these and other reasons, Defendant wrongfully denied Plaintiff’s

claim for Ability Plus Benefit and Plaintiff is entitled to said benefits pursuant to

§ 502(a)(1)(B) of ERISA.

      WHEREFORE the Plaintiff, Pamela J. Janssen, demands judgment from the

Defendant for the following:

      A.     Payment of all retroactive Ability Plus Benefit owed to Plaintiff under

the terms and conditions of the Plan;

      B.     A declaration of Plaintiff’s continued eligibility for all Ability Plus

Benefit under the Plan;

      C.     Prejudgment interest;

      D.     Reasonable attorney’s fees and costs related to the action; and

      E.     Such other and further relief that the Court deems just and equitable.




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Dated: March 9, 2020


                              HAWKS QUINDEL, S.C.
                              Attorneys for Plaintiff, Pamela J. Janssen


                        By:         /s/ William E. Parsons
                              William E. Parsons, State Bar No. 1048594
                              Email: wparsons@hq-law.com
                              Jessa L. Victor, State Bar No. 1099144
                              Email: jvictor@hq-law.com
                              409 East Main Street
                              Madison, Wisconsin 53701-2155
                              Telephone: 608/257-0040
                              Facsimile: 608/256-0236




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